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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   )   Chapter 11
                                                         )
Yield10 Bioscience, Inc., et al., 1                      )   Case No. 24-12752 (MFW)
                                                         )
                                    Debtors.             )
                                                         )   Jointly Administered
                                                         )
                                                         )   Hearing Date: January 8, 2025 @ 12:00 p.m. (ET)
                                                         )   Obj. Deadline: December 26, 2024 @ 4:00 p.m. (ET)


                                           NOTICE OF MOTION

         PLEASE TAKE NOTICE that the debtors and debtors in possession in the above-

captioned cases (collectively, the “Debtors”) have filed the Motion of Debtors for Entry of an

Order Extending Time to File Schedules of Assets and Liabilities and Statements of Financial

Affairs (the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the

“Court”).

         PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed

on or before December 26, 2024 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United

States Bankruptcy Court for the District of Delaware, 5rd Floor, 824 North Market Street,

Wilmington, Delaware 19801. At the same time, you must serve a copy of any objection upon

the undersigned proposed counsel to the Debtors so as to be received on or before the Objection

Deadline.

         PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

MOTION WILL BE HELD ON JANUARY 8, 2025 AT 12:00 P.M. (ET) BEFORE THE


1
 The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10
Bioscience, Inc. (x8289), (ii) Yield10 Bioscience Securities Corp. (x7435), and (iii) Yield10 Oilseeds Inc. (Canadian
Business No. x9469).

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HONORABLE MARY F. WALRATH IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET, 5TH FLOOR,

COURTROOM NO. 4, WILMINGTON, DELAWARE 19801.

         PLEASE TAKE FURTHER NOTICE THAT, IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.

Dated: December 13, 2024                      THE ROSNER LAW GROUP LLC
       Wilmington, Delaware
                                              /s/ Frederick B. Rosner
                                              Frederick B. Rosner (DE # 3995)
                                              Zhao (Ruby) Liu (DE# 6436)
                                              824 N. Market Street, Suite 810
                                              Wilmington, Delaware 19801
                                              Tel.: (302) 777-1111
                                              Email: rosner@teamrosner.com
                                                      liu@teamrosner.com

                                              Proposed Counsel to the Debtors and
                                              Debtors in Possession




{00040405. }                          2
